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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


AIR FORCE OFFICER, on behalf of herself              )
and all others similarly situated,                   )       Case No. 5:22-cv-00009-TES
                                                     )
                       Plaintiff,                    )
v.                                                   )
                                                     )
LLOYD J. AUSTIN, III, in his                         )
official capacity as Secretary of Defense;           )
FRANK KENDALL, III, in his                           )
official capacity as Secretary of the Air Force; and )
ROBERT I. MILLER, in his                             )
official capacity as Surgeon General of the          )
Air Force,                                           )
                                                     )
                       Defendants.                   )


                         DECLARATION OF AIR FORCE ENGINEER

       Pursuant to 28 U.S.C. § 1746, I, Air Force Engineer, under penalty of perjury declare as

follows:

       1.      I am over the age of eighteen and am competent to make this declaration.

       2.      I am an officer in the United States Air Force and a licensed civil engineer,

stationed in Virginia.

       3.      I have served in active service with the Air Force for more than 10 years.

       4.      The military has rewarded me with six (6) medals for my service, including three

Meritorious Service Medals, a Navy Commendation Medal, and two Air Force Commendation

Medals.

       5.      I have never been disciplined by the Air Force, nor has there ever been cause to

discipline me for any reason.



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       6.       I currently serve in a managerial role providing a broad range of civil engineering

support to multiple Air Force bases across the continental United States.

       7.       On December 6, 2021, I tested positive for COVID-19, after beginning to feel ill

on December 3, 2021. Even though I had been working in the office the previous week, to my

knowledge none of my fellow Airmen became infected. Having fully recovered from COVID-19

and thus having natural immunity, I believe I am at less risk of becoming infected again than my

fellow vaccinated coworkers and pose less risk to mission accomplishment no matter where I am

assigned.

       8.       The mitigation efforts put in place by the Air Force since March 2020 have

proven effective. These same mitigation efforts have allowed the Air Force to accomplish its

mission — arguably better than ever.

       9.       In addition, based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I understand that the Air Force currently recognizes at least 1,102 medical

accommodations.

       10.      Based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I further understand the Air Force currently recognizes at least 1,407 administrative

accommodations.

       11.      Based on information publicly available from the Air Force, including

https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-march-29-

2022/, I understand that at least 96.5% of Air Force service members have received COVID-19

vaccinations.



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           12.   I do not understand how temporary continued mitigation efforts for approximately

3% of the Air Force would significantly impact mission readiness, especially in light of the fact

that the Air Force readily accommodates those granted medical and administrative

accommodations when 100% of the Air Force has been operating under the same parameters for

months.

           13.   I am a member of the Christian faith. I understand that vaccinations are a

condition of military service and am not opposed to vaccines in principle. However, in

accordance with my faith, it is my sincerely held religious belief that abortion is a grave evil and

that use of vaccines that cooperate in that evil by incorporating the cell lines of aborted children

in their development or testing is not morally justified except in extraordinary circumstances not

present here.

           14.   I understand that all three COVID-19 vaccines currently authorized for use in the

United States – either fully approved by the FDA (COMIRNATY®) or available under

Emergency Use Authorization (Johnson & Johnson and Moderna) – utilized fetal cell lines in

their production or testing. Those fetal cell lines are descended from fetal tissue taken from

elective abortions of unborn children. I am aware of several sources, including the University of

Nebraska Medical Center and the Charlotte Lozier Institute, that acknowledge this.

           15.   Because all three COVID-19 vaccines authorized for use in the United States

utilized fetal cell lines in their production or testing, and the fetal cell lines are descended from

fetal tissue taken from elective abortions of unborn children, use of the vaccines would constitute

cooperation in the evil of abortion. Such cooperation with evil would violate my sincere religious

beliefs.




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       16.     On September 20, 2021, I submitted a request for religious accommodation to the

requirement that I take the COVID-19 vaccination. (Exhibit 1, attached).

       17.     I received notice of the denial of my request for religious accommodation on or

about December 20, 2021. (Ex. 2, attached.)

       18.     I timely appealed that denial on Christmas Eve, December 24, 2021. (Ex. 3,

attached.)

       19.     I received notice of the final denial of the appeal of my religious accommodation

request on January 31, 2022. (Ex. 4, attached).

       20.     I do not oppose all vaccines. I oppose the currently available COVID-19 vaccines

for religious reasons.

       21.     I have been willing and able and remain willing and able to work remotely, wear a

mask, and test periodically, as appropriate and as required.

       22.     I am aware of the following military orders purportedly requiring me to take the

vaccine:

               a.        Department of Defense August 24, 2021 Order (Ex. 1 to Doc. 2-2);

               b.        Department of Air Force September 3, 2021 Order (Ex. 2 to Doc. 2-2).

       23.     I am aware of AFI 48-110 (Ex. 7 to Doc. 2-2), an Air Force instruction.

       24.     I am also aware of reported information publicly available from the Air Force,

including https://www.af.mil/News/Article-Display/Article/2959594/daf-covid-19-statistics-

march-29-2022/, relating to religious accommodation requests.

       25.     I am not aware of any military branch (including the Air Force, Navy, Army,

Marines, and Coast Guard) granting any religious accommodation requests to service members

not already slated for separation, and I’m aware that the Pentagon’s Inspector General is



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investigating whether the military’s process for considering and denying religious

accommodation requests to COVID-19 vaccination complies with its own protocols.

https://www.military.com/daily-news/2022/03/02/pentagon-watchdog-investigate-militarys-

covid-19-exemption-process.html.

       26.     My request for a religious exemption would not seriously impact my ability to

perform my duties. As shown above, I have recovered from COVID-19 and have natural

immunity which has been shown to be superior than vaccine-induced immunity, which wanes

after a matter of months.

       27.     I have maintained and continue to maintain protocols for health and safety, I have

no known comorbidities, and to my knowledge I have not transmitted COVID-19 to others.

       28.     My Air Force career has been entirely in the interest of military readiness, unit

cohesion, good order, discipline, health, and safety.

       29.     Based on Facebook comments that I am aware of related to the WMAZ and

WGXA news reports about Air Force Officer and this case (Docs. 48 and 49), and based on

numerous other public statements made by individuals in government or the media that are

critical of people not taking the COVID-19 vaccine, I am concerned about serious social

stigmatization and my personal safety and security.

       30.     I have talked with others in the military who expressed to me that they want to

speak out in opposition to the vaccine mandates but are afraid to do so.

       31.     After receiving final denial of my religious accommodation requests, I was given

the following three options: (1) take the vaccine; (2) separate from military service; (3) or face

military discipline for disobeying the COVID-19 vaccine mandates.




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       32.     I have not yet responded to the ultimatum. I cannot in good conscience take the

vaccine; it is more important to me to remain faithful to my Christian faith than to violate my

religiously formed conscience for the sake of work and compensation. Still, I would very much

like to stay in the Air Force, and cannot bring myself to choose separation.

       33.     The attached exhibits are redacted to remove some personal identifiers.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

March 30, 2022.



                                             /s/Air Force Engineer
                                             Air Force Engineer




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